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                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT O F FLO RIDA

                           Case No.12-61460-CIV-W ILLIAMS


  TW EEDSM UIR ATKINSO N,

          Plaintift
  VS.

  M ICHAEL P.HUERTA,etaI.,

          Defendants.
                            /

                                O RDER DISM ISSING CASE

                 THIS MATTER is before the Coud upon the Padies'Joint Status Repod,

  filed August 7,2013 (DE 22). In the Status Repod, the Padies represent that this
                       ved and request an order of dism issal, and the Court thus
  m atter has been resol

  construesthe Status Repod as ajointstipulation fordismissal. Accordingly,itis hereby
  O RDERED AND ADJUDG ED thatthis action is DISM ISSED W ITH PREJUDICE,each

  Party to bear its own costs and attorneys'fees except as otherwise agreed by the

  Padies. The Clerk is instructed to CLO SE this case.

          DO NE AND ORDERED in cham bers in M iam i,Florida,this       day ofAugust,

  2013.




                                                KA LE     M .W ILLIAMS
                                                UNITED S ATES DISTRICT JUDGE
